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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE


HYC LOGISTICS, INC.,

       Plaintiff/Counter-Defendant
vs.
                                                   Civil Action No. 2:23-cv-02050-TLP-tmp
OJCOMMERCE, LLC D/B/A
OJ COMMERCE, LLC AND
JACOB WEISS, INDIVIDUALLY,

       Defendants/Counter-Plaintiffs


OJCOMMERCE, LLC D/B/A
OJ COMMERCE, LLC

       Defendant/Counter-Plaintiff
vs.

ITAMAR ARONOV, URI SILVER,
562 EXPRESS, INC., ANTONIO HERNANDEZ
and DAYANA DIAZ

       Counter-Defendants.


OJ COMMERCE, LLC,

       Plaintiff
vs.                                                Civil Action No. 2:23-cv-02226-TLP-atc
                                                   CONSOLIDATED
562 EXPRESS, INC.,

       Defendant.



  DEFENDANTS’ URI SILVER, ITAMAR ARONOV, ANTONIO HERNANDEZ, AND
              DAYANA DIAZ’S JOINT MOTION TO DISMISS


       COME NOW, putative Defendants, Uri Silver (“Silver”), Itamar Aronov (“Aronov”),

Antonio Hernandez (“Hernandez”), and Dayana Diaz (“Diaz”) (together here, the “Defendants”),

pursuant to Fed. R. Civ. P. 9(b) and 12, by and through undersigned counsel of record, and file
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this Joint Motion to Dismiss the claims purportedly brought against each them, as individuals, by

Plaintiff, OJCommerce, LLC d/b/a OJ Commerce, LLC (“OJ Commerce”). For the reasons stated

herein, including those in their Memorandum of Law filed contemporaneously herewith, as well

as all others discerned by the Court, OJ Commerce’s claims against the Defendants should be

dismissed with prejudice for the following reasons:

       1.      OJ Commerce has failed to establish personal jurisdiction over the Defendants, and

OJ Commerce’s Counterclaim against them must therefore be dismissed pursuant to Fed. R. Civ.

P. 12(b)(2).

       2.      OJ Commerce has failed to state a claim upon which relief can be granted against

the Defendants, and OJ Commerce’s Counterclaim against the Defendants must therefore be

dismissed pursuant to Fed. R. Civ. P. 12(b)(6).

       3.      OJ Commerce has failed to plead against the Defendants with particularity, as is

required under Fed. R. Civ. P. 9(b), and therefore the claims fail and must be dismissed.


       WHEREFORE, PREMISES CONSIDERED, Defendants, Uri Silver, Itamar Aronov,

Antonio Hernandez, and Dayana Diaz pray that OJ Commerce’s claims against them, including

all causes of action asserted in the Counterclaim (D.E. 49), be DISMISSED with prejudice.


                                             GLANKLER BROWN, PLLC

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                                            Attorneys for Defendants HYC Logistics, Inc., 562
                                            Express, Inc., Itamar Aronov, Uri Silver, Antonio
                                            Hernandez, and Dayana Diaz


                                CERTIFICATE OF SERVICE

        I hereby certify that on November 27, 2023, a copy of the foregoing has been served upon
the following by operation of the Court’s ECF system and email:

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                                            /s/    S. Joshua Kahane
                                                   S. Joshua Kahane
